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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 21-cv-3417-NYW

HOLLY KLUTH,

       Plaintiff,

v.

TONY SPURLOCK, individually, and in his official capacity as Douglas County Sheriff,

      Defendant.
______________________________________________________________________________

            UNOPPOSED MOTION TO AMEND SCHEDULING ORDER
______________________________________________________________________________

       Plaintiff Holly Kluth, by and through her attorneys, hereby submits this Unopposed Motion

to Amend Scheduling Order pursuant to Fed. R. Civ. P. 16(b)(4) and D.C.COLO.LCivR 16.2, to

amend the Scheduling Order (ECF No. 18) to extend the expert disclosure deadlines by one week

as follows:

               a. That the expert disclosure deadline be extended from July 15, 2022 to July 22,

                    2022.

               b. That the rebuttal expert disclosure deadline be extended from August 15, 2022

                    to August 22, 2022.

       Pursuant to D.C.COLO.LCivR 7.1, undersigned counsel conferred with William T.

O’Connell, counsel for Defendant, and Defendant does not oppose the relief sought herein.

       A scheduling order will be amended only with good cause and consent of the Court. Fed.

R. Civ. P. 16(b)(4). In support of the good cause required to amend the scheduling order, Plaintiff

state as follows:
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        1.     Plaintiff has retained an economics expert, who requires a brief extension of the

expert disclosure deadline to enable him to finalize his report in conjunction with his work on other

matters.

        2.     The parties previously stipulated to an extension of Defendant’s time to respond to

Plaintiff’s discovery requests. ECF No. 19. No other extensions have been sought or granted in

this case.

        3.     The requested one-week extension of expert disclosure deadlines will not affect any

other deadlines in this case and will not prejudice any party.

        4.     Pursuant to D.C.COLO.LCivR 6.1(c), undersigned counsel certifies that a copy of

this motion will be contemporaneously served on Plaintiff Holly Kluth by email.

        WHEREFORE, the Plaintiff respectfully requests that the Court enter an order Amending

the Scheduling Order as detailed herein.

        Respectfully submitted this July 8, 2022.

                                                        RATHOD ǀ MOHAMEDBHAI LLC

                                                        s/ Felipe Bohnet-Gomez
                                                        Felipe Bohnet-Gomez
                                                        Matthew J. Cron
                                                        Siddhartha H. Rathod
                                                        2701 Lawrence St., Suite 100
                                                        Denver, CO 80205
                                                        (303) 578-4400
                                                        fbg@rmlawyers.com
                                                        mc@rmlawyers.com
                                                        sr@rmlawyers.com

                                                        Attorneys for Plaintiff




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